 

Case 4:20-cv-00064-MWB Document 1 Filed 01/13/20 Page 1 of 46

UNITED STATES DISTRICT COURT FOR THE MIDDLE
DISTRICT OF PENNSYLVANIA

ISAIAH HUMPHRIES,

Plaintiff
V

No. Ub AO-CU- WY.

THE PENNSYLVANIA STATE

 

UNIVERSITY; JAMES FRANKLIN ; : JURY TRIAL DEMAND
AND DAMION BARBER : FILED
: HARRISBURG PA
Defendants
JAN 43 2029
PER __ _
COMPLAINT - CIVIL ACTION DEPUTY CLERK

 

AND NOW comes the plaintiff Isaiah Humphries, by and through counsel, and
demands of the defendants, jointly and severally, damages for loss sustained, plus
interest, costs and damages for prejudgment delay upon the causes of action set forth in
the following:

JURISDICTION AND VENUE

1. Plaintiff incorporates by reference the previous paragraphs of the
Complaint as if set forth fully hereto.

2. This Court maintains original jurisdiction over the instant claims
pursuant to 28 U.S.C.A. § 1332 as a result of the controversy between the parties
being between citizens of different States and the amount in controversy exceeding

mandatory diversity amounts exclusive of interest and costs.
 

Case 4:20-cv-00064-MWB Document 1 Filed 01/13/20 Page 2 of 46

3. For the purpose of diversity pursuant to 28 U.S.C.A. § 1332, the
plaintiff is a citizen of the State of Maryland, defendant The Pennsylvania State
University is a citizen of the Commonwealth of Pennsylvania, defendant James
Franklin is a citizen of the Commonwealth of Pennsylvania, and defendant Damion
Barber is a citizen of the Commonwealth of Pennsylvania,

4. Venue of this matter is properly laid in this judicial district pursuant to
28 U.S.C. §1391 upon a basis that a substantial part of the events or omissions giving

rise to the claim occurred, or a substantial part of property that is the subject of the

action is situated in this judicial district.

PARTIES AND RELATED ENTITIES
5. The plaintiff incorporates by reference the paragraphs above as if set
forth herein in full.
6. Plaintiff Isaiah Humphries is an adult individual and at all relevant times
material hereto was a college student attending The Pennsylvania State University.
7. Plaintiff may be contacted by and through counsel, Steven F. Marino,

Esquire or Joseph Auddino, Esquire of Marino Associates at 301 Wharton Street,

Philadelphia, PA 19147.
Case 4:20-cv-00064-MWB Document 1 Filed 01/13/20 Page 3 of 46

8. Defendant The Pennsylvania State University is a state related, land-
grant institution of higher education with campuses and facilities throughout
Pennsylvania having a principal office located 20] Old Main, University Park, PA
16802. At all relevant times material hereto, defendant The Pennsylvania State
University was engaged in teaching, research, and public service. Atal] relevant times
material hereto, defendant The Pennsylvania State University acted by and through its
duly authorized employees, agents, workers and/or representatives acting within the
scope of their employment.

9. Defendant James Franklin is an adult individual and at all relevant times
material hereto, was the agent, servant, and employee of defendant The Pennsylvania
State University, having an address for the service of process located at Bryce Jordan
Center, Room 101, University Park, PA 16802. At all relevant times material hereto,
defendant James Franklin served as the Head Football Coach at The Pennsylvania State
University. At all relevant times material hereto, defendant James Franklin acted
within the course and scope of his employment with defendant The Pennsylvania State
University.

10. Defendant Damion Barber is an adult individual and at all relevant times
material hereto was a college student attending The Pennsylvania State University

domiciled in Harrisburg, PA. At all relevant times material hereto defendant Damion

 
Case 4:20-cv-00064-MWB Document 1 Filed 01/13/20 Page 4 of 46

Barber was a member of the Penn State University varsity football team.

11. Micah Parsons is an adult individual and at all relevant times material
hereto was a college student attending The Pennsylvania State University and a
member of the Penn State University varsity football team.

12. Yetur Gross-Matos is an adult individual and at all relevant times
material hereto was a college student attending The Pennsylvania State University and
a member of the Penn State University varsity football team.

13. Jesse Luketa is an adult individual and at all relevant times material
hereto was a college student attending The Pennsylvania State University Jesse Luketa

and a member of the Penn State University varsity football team.

THE PENNSYLVANIA ANTI-HAZING STATUTES
14, The plaintiff incorporates by reference the paragraphs above as if set
forth herein in full.
15. At all relevant times, the “Pennsylvania Antihazing Law”, 24 PS.

§§5351-5354, prohibited hazing throughout the Commonwealth of Pennsylvania.'

 

1 On October 19, 2018, The Governor of the Commonwealth of Pennsylvania signed into law the
“Timothy J. Piazza the Antihazing Law”, 2017 Pa. SB 1090, 18 Pa.C.S.A. §§2801-2811, which
became effective November 18, 2018, amending and superseding the prior “Pennsylvania Antihazing
Law”, 24 P.S. §§5351-5354,

 
Case 4:20-cv-00064-MWB Document 1 Filed 01/13/20 Page 5 of 46

16. Pursuant to the ‘‘Pennsylvania Antihazing Law”, 24 P.S. §§535]1 -5354,
the term hazing is defined as any action or situation which recklessly or intentionally
endangers the mental or physical health or safety of a person or which willfully
destroys or removes public or private property for the purpose of initiation or
admission into or affiliation with, or as a condition for continued membership in, any
organization.

17. Pursuant to the “Pennsylvania Antihazing Law” the term hazing
included, but was not limited to, any brutality of a physical nature, such as whipping,
beating, branding, forced calisthenics, exposure to the elements, forced consumption of
any food, liquor, drug or other substance, or any other forced physical activity which
could adversely affect the physical health and safety of the individual, and shall include
any activity which would subject the individual to extreme mental stress, such as sleep
deprivation, forced exclusion from social contact, forced conduct which could result in

extreme embarrassment, or any other forced activity which could adversely affect the
mental health or dignity of the individual, or any willful destruction or removal of
public or private property.
18. At all relevant times the amendatory act referred to as the “Timothy J.

Piazza Antihazing Law”, 18 Pa.C.S.A. § 2801, et seq., prohibited hazing throughout

the Commonwealth of Pennsylvania.

 
 

Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 6 of 46

19, Pursuant to the amendatory act referred to as the “Timothy J. Piazza
Antihazing Law”, 18 Pa.C.S.A. § 2801, et Seq., a person commits the offense of hazing
if the person intentionally, knowingly or recklessly, for the purpose of initiating,
admitting or affiliating a minor or student into or with an organization, or for the
purpose of continuing or enhancing a minor or student’s membership or status in an
organization, causes, coerces or forces a minor or student to, among others, endure
brutality of a physical nature, including whipping, beating, branding, calisthenics or
exposure to the elements; endure brutality of a mental nature, including activity
adversely affecting the mental health or dignity of the individual, sleep deprivation,
exclusion from social contact or conduct that could result in extreme embarrassment;
endure brutality of a sexual nature and endure any other activity that creates a

reasonable likelihood of bodily injury to the minor or student.

THE PENNSYLVANIA STATE UNIVERSITY ANTIHAZING POLICY
20. The plaintiff incorporates by reference the paragraphs above as if set
forth herein in full.
21. Upon information and belief, at all relevant times material hereto, the
Pennsylvania State University maintained a written antihazing policy pursuant to the

“Pennsylvania Antihazing Law”, 24 P.S. §§5351-5354,
 

Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 7 of 46

22. Upon information and belief, pursuant an antihazing policy, the
Pennsylvania State University adopted rules prohibiting students or other persons
associated with any organization operating under the sanction of or recognized as an
organization by the University from engaging in any activity which can be described
as hazing.

23. At all relevant times material hereto a copy of the Pennsylvania State
University’s written antihazing policy, its rules, penalties and program of enforcement
were published to or otherwise accessible by coaches of the Pennsylvania State
University athletic football program.

THE PENNSYLVANIA STATE UNIVERSITY’S CODE
OF STUDENT CONDUCT

24. The plaintiff incorporates by reference the paragraphs above as if set forth
herein in full.

25. At all relevant times material hereto defendant the Pennsylvania State
University maintained a Student Code of Conduct which governed student behavior.

26. The Pennsylvania State University Student Code of Conduct identifies
and outlines unacceptable student and student organization behavior.

27. At all relevant times material hereto a copy of the Pennsylvania State

University Student Code of Conduct was published to or otherwise accessible by
 

Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 8 of 46

defendant Damion Barber, Micah Parsons, Yetur Gross-Matos, and Jesse Luketa.

28. At all relevant times material hereto a copy of the Pennsylvania State
University Student Code of Conduct was published to or otherwise accessible by
coaches of the Pennsylvania State University athletic football program.

29. The Pennsylvania State University Student Code of Conduct provides that
any student or student organization found to have committed, to have attempted to
commit, or to have assisted in the prohibited behavior(s) listed in the Code, may be
subject to sanction.

30. The Pennsylvania State University Student Code of Conduct provides that
a student or student organization engages in an attempt when, with intent to commit a
specific violation of the Code, they perform any act that constitutes a substantial step
toward the commission of that violation.

31. The Pennsylvania State University Student Code of Conduct provides that
student organizations may be found responsible for violations when the prohibited
behavior is endorsed by the student organization or any of its officers including, but
not limited to, active Or passive consent or support, having prior knowledge that the
conduct was likely to occur and not taking any substantive action to prevent it.

32. The Pennsylvania State University Student Code of Conduct provides that

student organizations may be found responsible for violations when the prohibited
Case 4:20-cv-00064-MWB Document 1 Filed 01/13/20 Page 9 of 46

 

behavior is committed during an activity paid for by the student organization.

33. The Pennsylvania State University Student Code of Conduct provides that
student organizations may be found responsible for violations when the prohibited
behavior occurred on property owned, controlled, rented, leased, or used by the student
organizations or any of its members for an organizational event.

34. The Pennsylvania State University Student Code of Conduct provides that
student organizations may be found responsible for violations when the purpose of the
activity was related to initiation, admission into, affiliation with, or as a condition for
continued membership in the student organizations.

35. The Pennsylvania State University Student Code of Conduct provides that
student organizations may be found responsible for violations if members of the
student organizations attempted to conceal the activity of other members who were
involved.

36. The Pennsylvania State University Student Code of Conduct prohibits
students from engaging in the physical harming or threatening to harm any person,
intentionally or recklessly causing harm to any person or reasonable apprehension of
such harm or creating a condition that endangers the health and safety of self or others.

37. The Pennsylvania State University Student Code of Conduct prohibits

students from engaging in sexual harassment.
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 10 of 46

38. The Pennsylvania State University Student Code of Conduct prohibits
students from engaging in sexual misconduct.

39. The Pennsylvania State University Student Code of Conduct prohibits
students from engaging in harassment by means of physical or verbal conduct that is
sufficiently severe or pervasive such that it threatens or substantially interferes with an
individual’s employment, education, or access to the University programs, activities, or
opportunities and such conduct would detrimentally affect a reasonable person under
the same circumstance.

40. The Pennsylvania State University Student Code of Conduct prohibits
students from engaging in disorderly, disruptive, lewd, or indecent conduct, including,
but not limited to, creating unreasonable noise; pushing and shoving; creating a
physically hazardous condition.

41. The Pennsylvania State University Student Code of Conduct prohibits
students from engaging in retaliation by taking an adverse action against any individual
on the basis of a good faith report made by such individual, or based on the
individual’s participation in an investigation, hearing, or inquiry by the University or
an appropriate authority, or the individual’s participation in a court proceeding relating
to suspected wrongful conduct.

42. The Pennsylvania State University Student Code of Conduct prohibits

10

 
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 11 of 46

students from engaging in the hazing of another student.

43. The Pennsylvania State University Student Code of Conduct prohibits
students from engaging in the harassment of another student.

44. The Pennsylvania State University Student Code of Conduct prohibits
students from engaging in assaultive behavior towards another student.

45. The Pennsylvania State University Student Code of Conduct prohibits
students from engaging in the harmful contact of another student.

THE PENNSYLVANIA STATE UNIVERSITY
ADMINISTRATIVE POLICIES

46. The plaintiff incorporates by reference the paragraphs above as if set forth
herein in full.

47. At all relevant times material hereto defendant the Pennsylvania State
University maintained and implemented administrative policies.

48. Pennsylvania State University’s administrative policies were
implemented, among others, to maintain an environment free of harassment and to
advance the Universities commitment not to tolerate sexual misconduct and
relationship violence which violates the dignity of individuals and impedes the
realization of the University’s educational mission.

49. Pennsylvania State University Administrative Policy AD85 [relating to

 

 
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 12 of 46

Sexual And/Or Gender-Based Harassment And Misconduct] prohibits Sexual
harassment.

50. Pursuant to Pennsylvania State University Administrative Policy
AD85 [relating to Sexual And/Or Gender-Based Harassment And Misconduct ] the
University is to provide regular, mandatory training for all University employees
related to issues covered under the Policy.

51. Pursuant to Pennsylvania State University Administrative Policy
AD835 [relating to Sexual And/Or Gender-Based Harassment And Misconduct] all
University employees are required to complete an Annual Compliance Training ona
yearly basis.

52. Pennsylvania State University Administrative Policy AD91 [relating to
Discrimination and Harassment and Related Inappropriate Conduct] prohibits
harassment by means of behavior consisting of physical or verbal conduct that is
sufficiently severe or pervasive such that it substantially interferes with an individual’s
employment, education or access to University programs, activities or opportunities
and would detrimentally affect a reasonable person under the same circumstances.

53. Pennsylvania State University Administrative Policy AD67 [relating to
Disclosure of Wrongful Conduct and Protection From Retaliation] prohibits retaliation

by means of any adverse action taken by a member of the University faculty, staff, or

12
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 13 of 46

student body against any individual on the basis of aGood F aith Report made by such
individual, or on the basis of such individual’s participation in an investigation,
hearing, or inquiry by the University or an Appropriate Authority, or participation in a
court proceeding relating to suspected Wrongful Conduct at the University.

54. Pursuant to Pennsylvania State University Administrative Policy
AD67 [relating to Disclosure of Wrongful Conduct and Protection From Retaliation]
retaliation included behavior consistent with, but not be limited to, harassment,
discrimination, threats of physical harm, job termination, punitive work schedule or
research assignments, decrease in pay or responsibilities, or negative impact on

academic progress.

THE PENNSYLVANIA STATE UNIVERSITY FOOTBALL PROGRAM
55. The plaintiff incorporates by reference the paragraphs above as if set forth
herein in full.
56. At all relevant times material hereto defendant the Pennsylvania State
University maintained a Division I football program.
57. At all relevant times material hereto the football team maintained by
defendant the Pennsylvania State University was comprised of some one hundred (100)

players which included. among others, the plaintiff, defendant Damion Barber, Micah

13

 
 

Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 14 of 46

Parsons, Yetur Gross-Matos, and Jesse Luketa.

58. At all relevant times material hereto the responsibility to coach,
administrate, and manage the Pennsylvania State University Division I football team
was dedicated to a coaching staff which included fifteen (15) or more coaches.

59. At all relevant times material hereto the Pennsylvania State University
football team coaching staff consisted, among others, of: a Head Coach, Offensive
Coordinator/Quarterback coach; Defensive Coordinator/Linebacker coach; Special
Teams Coordinator/Defensive Assistant coach; Co-Defensive Coordinator/Safeties
coach; Offensive Recruiting Coordinator/Tight Ends coach; Run Game
Coordinator/Offensive Line coach; Passing Game Coordinator/Wide Receivers coach;
Running Backs coach; Assistant Head Coach/Defensive Recruiting
Coordinator/Cornerbacks coach; Associate Head Coach/Run Game Coordinator
/Defensive Line coach; Assistant AD, Chief of Staff; Director of Player Personnel;
Director of Football Operations; Director of Player Development & Community
Relations; and a Performance Enhancement coach.

60. At all relevant times material hereto the Pennsylvania State University
football team coaching staff interacted with players on the football team on a daily

basis.

14
 

Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 15 of 46

61. At all relevant times material hereto the Pennsylvania State University
football team coaching staff interacted with players on the football team in and around
the locker-room located in the Lasch Building at Penn State University.

62. Atall relevant times material hereto upon becoming aware that conduct
prohibited by the Student Code of Conduct and the Pennsylvania State University
Administrative Policies had occurred the members of the Pennsylvania State
University football team coaching staff owed a duty to immediately report the
prohibited conduct to the appropriate individuals or offices.

63. Atall relevant times material hereto upon having knowledge that conduct
prohibited by the Student Code of Conduct and the Pennsylvania State University
Administrative Policies was likely to occur the members of the Pennsylvania State

University football team coaching staff owed a duty to immediately take substantive

action to prevent it.

PENN STATE UNIVERSITY AWARDS THE PLAINTIFF A F ULL
ATHLETIC FOOTBALL SCHOLARSHIP

64. The plaintiff incorporates by reference the paragraphs above as if set

forth herein in full.

65. Plaintiff Isaiah Humphries was born in the calendar year of 1999,

66. On or about December 20, 2017, defendant The Pennsylvania State

15
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 16 of 46

University awarded the plaintiff a full athletic football scholarship, including the grant
of tuition, fees, room, board, books, and other expenses related to the attendance at
Pennsylvania State University for the academic years of 2018-2019 through 2022-2023
[see Big Ten Tender of Financial Aid Signed For Enrollment for the Academic Years
2018-2019 through 2022-2023 attached hereto and marked Exhibit 1}.

67. Defendant James Franklin promised the plaintiff that if the plaintiff
accepted the athletic scholarship award extended by defendant The Pennsylvania State
University that defendant James Franklin would use his best effort to protect the safety
and welfare of the plaintiff.

68. Defendant James Franklin promised the plaintiff that if the plaintiff
accepted the athletic scholarship award extended by defendant The Pennsylvania State
University that defendant James Franklin would use his best effort to advance the
academic and athletic careers of the plaintiff.

69. The plaintiff accepted the athletic scholarship award extended by
defendant The Pennsylvania State University.

70. The plaintiff enrolled and attended the Pennsylvania State University in

the academic year of 2018-2019.

16

 
 

Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 17 of 46

THE HARASSMENT AND HAZING SUFFERED BY THE
PLAINTIFF ISAIAH HUMPHRIES

71. The plaintiff incorporates by reference the paragraphs above as if set
forth herein in full.

72. Upon the plaintiffs enrollment at Pennsylvania State University, the
plaintiff participated diligently in Penn State football team’s practice and training
regiment as directed by the members of the Penn State football team’s coaching staff.

73. As a result of participating in the Penn State football team’s practice and
training regiment, the plaintiff was caused to be in the company of other players of
the Penn State football team such as defendant Damion Barber, Micah Parsons, Yetur
Gross-Matos, and Jesse Luketa.

74. Defendant Damion Barber, Micah Parsons, and Jesse Luketa were
players on the Penn State football team whom the plaintiff viewed as upper classmen
or in leadership positions.

75. | Upon information and belief, at all relevant times material hereto, Micah
Parsons was a member of the Penn State football team’s leadership council.

76. In or about the calendar month of January 2018, and continuing
thereafter, defendant Damion Barber, Micah Parsons, Yetur Gross-Matos, and Jesse

Luketa collectively orchestrated, participated in, directed, and or facilitated a

17
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 18 of 46

campaign to harass and haze lower classmen members of the Penn State football team,
including the plaintiff.

77. The campaign to harass and haze lower classmen members of the Penn
State football team, such as the plaintiff, undertaken by defendant Damion Barber,
Micah Parsons, Yetur Gross-Matos, and Jesse Luketa served as form of initiation into
the Penn State football program.

78. At all relevant times material hereto the harassment and hazing ritual
undertaken by defendant Damion Barber, Micah Parsons, Yetur Gross-Matos, and
Jesse Luketa included the participants stating that they intended to make lower
classmen, such as the plaintiff, “their bitch because this is a prison”.

79. At all relevant times material hereto the harassment and hazing ritual
undertaken by the defendant Damion Barber, Micah Parsons, Yetur Gross-Matos, and
Jesse Luketa included the participants stating to make lower classmen, such as the
plaintiff, “J am going to fuck you”.

80. At all relevant times material hereto the harassment and hazing ritual
undertaken by defendant Damion Barber, Micah Parsons, Yetur Gross-Matos, and
Jesse Luketa included the participants stating to lower classmen, such as the plaintiff,

“Tam going to Sandusky you”.

18

 
 

Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 19 of 46

&1. At all relevant times material hereto the harassment and hazing ritual
undertaken by defendant Damion Barber, Micah Parsons, Yetur Gross-Matos, and
Jesse Luketa included the participants stating to lower classmen, such as the plaintiff,

“This is Jerry”.

82. At all relevant times material hereto the harassment and hazing ritual
undertaken by defendant Damion Barber, Micah Parsons, Yetur Gross-Matos, and
Jesse Luketa included the participants intimidating, threatening and bullying the lower
classmen, such as the plaintiff, when the lower classmen presented a resistance to the
prohibited behavior.

83. At all relevant times material hereto the harassment and hazing ritual
undertaken by defendant Damion Barber, Micah Parsons, Yetur Gross-Matos, and
Jesse Luketa included the participants taking the clothes of lower classmen, such as
the plaintiff, and not returning them.

84. At all relevant times material hereto the harassment and hazing ritual
undertaken by the defendant Damion Barber, Micah Parsons, Yetur Gross-Matos, and
Jesse Luketa included the participants overpowering lower classmen, such as the
plaintiff, wrestling the lower classmen to the ground, and while maintaining a restraint
of the lower classmen, simulating a humping action while on top of the lower

classmen.

19
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 20 of 46

85. At all relevant times material hereto the harassment and hazing ritual
undertaken by the defendant Damion Barber, Micah Parsons, Yetur Gross-Matos, and
Jesse Luketa included the participants overpowering lower classmen, such as the
plaintiff, wrestling the lower classmen to the ground and while maintaining a restraint
of the lower classmen another participant would place his genitals on the face of the
lower classmen.

86. At all relevant times material hereto the harassment and hazing ritual
undertaken by the defendant Damion Barber, Micah Parsons, Yetur Gross-Matos, and
Jesse Luketa included the participants overpowering lower classmen, wrestling the
lower classmen to the ground, and while maintaining a restraint of the lower classmen,
another participant would present his penis close to the face of the lower classmen and
stroke his genitalia simulating the action of ejaculation.

87. At all relevant times material hereto the harassment and hazing ritual
undertaken by defendant Damion Barber, Micah Parsons, Yetur Gross-Matos, and
Jesse Luketa included the participants overpowering lower classmen, wrestling the
lower classmen to the ground, and while maintaining a restraint of the lower classmen,
another participant would place his penis on the buttocks of the lower classmen and

stroke his genitalia simulating the action of ejaculation.

20

 
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 21 of 46

88. At all relevant times material hereto the harassment and hazing ritual
undertaken by defendant Damion Barber, Micah Parsons, Yetur Gross-Matos, and
Jesse Luketa included the participants placing their penises between the cheeks of the
buttocks of lower classmen, such as the plaintiff, while naked in the locker-room
shower.

89. At all relevant times material hereto the harassment and hazing ritual
undertaken by the defendant Damion Barber, Micah Parsons, Yetur Gross-Matos, and
Jesse Luketa included the participants placing their penises on the body of lower
classmen, such as the plaintiff, while naked in the locker-room shower.

90. At all relevant times material hereto the harassment and hazing ritual
undertaken by the defendant Damion Barber, Micah Parsons, Yetur Gross-Matos, and
Jesse Luketa included the participants grabbing the genitalia of lower classmen, such
as the plaintiff.

91. The aforementioned prohibited conduct of harassment and hazing served
to recklessly or intentionally endanger the mental and physical health of the lower
classmen, such as the plaintiff.

92. The aforementioned prohibited conduct of harassment and hazing served

to violate the dignity of the lower classmen, such as the plaintiff.

2]

 
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 22 of 46

93. Atall relevant times material hereto the aforementioned harassment and
hazing ritual occurred in the Lasch Building at Penn State University, a dormitory at
Penn State University, and other places in Centre County, Pennsylvania.

94. As a direct and proximate cause of the aforementioned harassment and
hazing, the plaintiff resigned his enrollment at the Penn State University in the calendar
month of December 2018, and transferred his education to the University of California.
REPORTING OF THE HARASSMENT AND HAZING TO COACH JAMES

FRANKLIN AND OTHER MEMBERS OF THE PEN NSYLVANIA STATE
UNIVERSITY FOOTBALL TEAM COACHING STAFF

95. The plaintiff incorporates by reference the paragraphs above as if set
forth herein in full.

96. On multiple occasions, members of the Pennsylvania State University
football team coaching staff observed the harassment and hazing which the plaintiff
and other lower classmen were being subjected to in the football locker-room.

97. On multiple occasions, the plaintiff reported to members of the
Pennsylvania State University football team coaching staff that he and other lower
classmen were being subjected to harassment and hazing in the football locker-room.

98. The plaintiffs father, Mr. Leonard Humphries, an ex-Penn State
Football player and an ex-NFL Football player, reported to defendant coach James

Franklin and other members of the Pennsylvania State University football team

22

 
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 23 of 46

coaching staff that the plaintiff was being subjected to harassment and hazing in the
football locker-room.

99. Despite the harassment and hazing which was occurring in the football
locker-room having been reported to defendant coach James Franklin and other
members of the Pennsylvania State University football team coaching staff no
substantive action was taken by defendant James Franklin or other members the
coaching staff to prevent it.

100. Despite the harassment and hazing which was occurring in the football
locker-room having been reported to defendant coach James Franklin and other
members of the Pennsylvania State University football team coaching staff, defendant
coach James Franklin nor any member of the Pennsylvania State University football
team coaching staff reported the prohibited conduct to the appropriate individuals or
offices.

RETALIATION OF THE PLAINTIFF AS A RESULT OF THE
REPORTING THE HARASSMENT AND HAZING

101. The plaintiff incorporates by reference the paragraphs above as if set
forth herein in full.

102. —Inretaliation of reporting the aforementioned harassment and hazing, the
plaintiff's athletic performance was overly and unfairly scrutinized by Penn State

Football coaching staff.

23

 
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 24 of 46

103. Inretaliation of reporting the aforementioned harassment and hazing, the
plaintiff was scorned and punished by the Penn State Football coaching staff.

104. Inretaliation of reporting the aforementioned harassment and hazing, the
Penn State Football coaching staff required the plaintiff to participate in athletic drills
designed to ensure the plaintiff's failure, and then used the plaintiff's losing
performance in the football drills to justify an opinion that the plaintiff's performance
was not sufficient to award him a game playing opportunity.

105. Inretaliation of reporting the aforementioned harassment and hazing the
Penn State football team’s academic advisor subjected the to plaintiff irrational and
inappropriate censure.

106. In retaliation of reporting the aforementioned harassment and hazing,
the plaintiff was denied necessary medical accommodations to manage diagnosed
conditions of anxiety and narcolepsy by the Penn State Football coaching staff.

107. Inretaliation of reporting the aforementioned harassment and hazing, the
Penn State Football coaching staff sought to remove the plaintiff from his participation
in the Penn State Football program with the excuse of a medical retirement option.

108.  Inrretaliation of reporting the aforementioned harassment and hazing, the
Penn State Football coaching staff provided negative reviews of the plaintiff to

prospective colleges whom the plaintiff showed interest upon his decision to leave

24

 
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 25 of 46

Penn State University.

109. In retaliation of reporting the aforementioned harassment and hazing,
the plaintiff was ostracized and shunned by other Penn State football team players.

110. In retaliation of reporting the aforementioned harassment and hazing,
the plaintiff was targeted by other Penn State football team players who conspired to
create an existence for the plaintiff designed to encourage him to leave Penn State
University and resign himself from its football program.

111. In retaliation of reporting the aforementioned harassment and hazing,
the plaintiff was targeted by other Penn State football team players who conspired to
instill anxiety, fear, and panic in the plaintiff.

112. In retaliation of reporting the aforementioned harassment and hazing,
Jesse Luketa continuously and repeatedly threatened the plaintiff with physical harm.

113. In retaliation of reporting the aforementioned harassment and hazing,
Jesse Luketa threatened that if the plaintiff ever visited “his city” in the country of

Canada that he would make certain that the plaintiff was gunned down upon the

plaintiff's arrival in the city.

THE PENNSYLVANIA STATE UNIVERSITY’S OFFICE OF SEXUAL
MISCONDUCT PREVENTION AND RESPONSE INVESTIGATIVE
REPORT

114. The plaintiff incorporates by reference the paragraphs above as if set

25

 
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 26 of 46

forth herein in full.

115. Upon information and belief, or about May 22, 2019, the Pennsylvania
State University Office of Sexual Misconduct Prevention and Response received an
anonymous complaint reporting that harassment and hazing related prohibited conduct
had been occurring amongst players of the Penn State Football team.

116. Upon information and belief, on or about May 24, 2019, the
Pennsylvania State University Office of Sexual Misconduct Prevention And Response
undertook a formal investigation in connection with the May 22, 2019, report of
incidents of prohibited conduct.

117. The plaintiff believes and therefore avers that members of the Penn State
Football program attempted to or otherwise did conceal the prohibited conduct activity
of other members of the Penn State Football program when requested to participate in
the formal investigation undertaken by the Pennsylvania State University Office of
Sexual Misconduct Prevention And Response.

118. Upon information and belief, Yvette Wilson of the Pennsylvania State
University Office of Sexual Misconduct Prevention And Response completed an
investigative report relating to the May 22, 2019, complaint of incidents of prohibited
conduct.

119. Upon information and belief, Yvette Wilson of the Pennsylvania State

26

 
 

Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 27 of 46

University Office of Sexual Misconduct Prevention And Response submitted the
findings of her investigation relating to the May 22, 2019 complaint of incidents of
prohibited conduct to the Pennsylvania State University Office of Student Conduct for
review and processing as appropriate.

120. Upon information and belief, the Pennsylvania State University Office
of Student Conduct lodged charges against defendant Damion Barber alleging that he
had subjected the plaintiff and others to harassment and hazing related prohibited
conduct.

121. Upon information and belief, the Pennsylvania State University Office
of Student Conduct prosecuted the charges lodged against defendant Damion Barber.

122. Upon information and belief defendant Damion Barber was determined
by the Pennsylvania State University Office of Student Conduct to have committed
prohibited behavior in violation of the Pennsylvania State University Student Code of
Conduct and sanctioned.

COUNT I
NEGLIGENCE PER SE — VIOLATION OF ANTIHAZING STATUTES
(Plaintiff v The Pennsylvania State University)
123. The plaintiff incorporates by reference the paragraphs above as if set

forth herein in full.

27
 

Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 28 of 46

124. Atall relevant times material hereto the plaintiff was a person within the
within the meaning of the “Pennsylvania Antihazing Law”, 24 P.S. §§5351 et seq.

125. Atall relevant times material hereto the plaintiff was a student within the
meaning of the “Timothy J. Piazza Antihazing Law”, 18 Pa.C.S.A. § 2801, et seq.

126. Atall relevant times material hereto defendant The Pennsylvania State
University was an institution of higher education or institution within the meaning of
the “Pennsylvania Antihazing Law”, 24 P.S. §§5351 et seq.

127. At all relevant times material hereto defendant The Pennsylvania State
University was an institution of higher education or institution within the meaning of
the “Timothy J. Piazza Antihazing Law”, 18 Pa.C.S.A. § 2801, et seq.

128. At all relevant times material hereto the Pennsylvania Football Team
was an organization operating under the sanction of or recognized as an organization
by defendant The Pennsylvania State University.

129. At all relevant times material hereto the Pennsylvania Football Team
was an organization within the meaning of the “Pennsylvania Antihazing Law”, 24
P.S. §§5351 et seq.

130. Atall relevant times material hereto the Pennsylvania State football team

was an organization within the meaning of the “Timothy J. Piazza Antihazing Law”,

18 Pa.C.S.A. § 2801, et seq.

28
 

Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 29 of 46

131. At all relevant times material hereto a special relationship existed
between defendant The Pennsylvania State University and the plaintiff in the form of a
college athletic coach and a student-athlete.

132. Defendant The Pennsylvania State University owed the plaintiff an
assumed, contractual, statutory and/or common law heightened duty of care to:

(a) exercise ordinary and reasonable care for the safety of student-
athletes under its authority;

(b) conduct sufficient supervision of athletes;

(c) provide a safe sport environment;

(d) prevent prohibited conduct of harassment and hazing by other
athletes and coaching staff;

(e) prevent prohibited conduct of retaliation by other athletes and
coaching staff;

(f) report to the proper authorities incidents of prohibited conduct of
harassment and hazing by other athletes and coaching staff;

(g) report to the proper authorities incidents of prohibited conduct of
retaliation;

(h) promote the health and welfare of the plaintiff student athlete.

29

 
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 30 of 46

133. Defendant The Pennsylvania State University, by and through its
employees, agents, workers and/or representatives acted negligently, carelessly,
intentionally, knowingly, or recklessly and breached the duty of care owed to the
plaintiff in the following respects:

(a) permitting the plaintiff to be subject to the prohibited conduct of
harassment and hazing from members of the Penn State football team;

(b) permitting the plaintiff to be subject to the prohibited conduct of
harassment and hazing from members of the Penn State football team in a blatant
disregard of the Pennsylvania State University’s written antihazing policy implemented
pursuant to the “Pennsylvania Antihazing Law”, 24 P.S. §§5351-5354;

(c) failing to take substantive action to protect the plaintiff from
suffering the prohibited conduct of harassment and hazing;

(d) promoting or facilitating hazing in violation of the “Pennsylvania
Antihazing Law”, 24 P.S. §§535] et seq.;

(e) promoting or facilitating hazing in violation of the “Timothy J.
Piazza Antihazing Law”, 18 Pa.C.S.A. § 2804 [relating to Organizational Hazing];

(f) promoting or facilitating hazing in violation of the “Timothy J.

Piazza Antihazing Law”, 18 Pa.C.S.A. § 2805 [relating to Institutional Hazing];

 

 
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 31 of 46

(g) retaliated against the plaintiff upon learning that the plaintiff
reported that he was being subjected to the prohibited conduct of harassment and
hazing from members of the Penn State football team.

(h) failing to effectively enforce the Pennsylvania State University
Student Code of Conduct for violations of prohibited conduct;

(i) failing to effectively enforce the Pennsylvania State University
Administrative Policy AD85 [relating to Sexual And/Or Gender-Based Harassment
And Misconduct];

G) failing to effectively enforce the Pennsylvania State University
Administrative Policy AD91 [relating to Discrimination and Harassment and Related
Inappropriate Conduct];

(k) failing to effectively enforce the Pennsylvania State University
Administrative Policy Pennsylvania State University Administrative Policy AD67
[relating to Disclosure of Wrongful Conduct and Protection From Retaliation];

(1) failing to report the incidents of prohibited conduct to appropriate
authorities.

134. Defendant The Pennsylvania State University is liable to the plaintiff, by

and through its representative, employees, agents or ostensible agents, pursuant to the

provisions Section 219 of the Restatement 2"? of Agency.

 

 
 

Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 32 of 46

135. As a direct and proximate result of defendant the Pennsylvania State
University’s negligent, intentional, or recklessly acts, omissions or failures to act, the
plaintiff was caused to transfer his college enrollment from The Pennsylvania State
University to the University of California and rendered ineligible to participate as game
player on the University of California football team for a period of one (1) year
pursuant to the governing rule of the National Collegiate Athletic Association.

136. Asa direct and proximate result of defendant The Pennsylvania State
University’s negligent, intentional, or recklessly acts, omissions or failures to act, the
plaintiff was caused to suffer physical pain, discomfort, trauma, humiliation,
embarrassment, emotional distress, sleeplessness, anxiety, inability to perform simple
activities of daily living, depression characterized by feelings of despair, hopelessness,
and despondency, some or all of which may be permanent and which may continue
indefinitely into the future.

137. As a direct and proximate result of defendant The Pennsylvania State
University’s negligent, intentional, or recklessly acts, omissions or failures to act, the
plaintiff has been required to undergo outpatient healthcare, and medical evaluations
and may require other medical attention into the future.

138. As a direct and proximate result of defendant The Pennsylvania State

University’s negligent, intentional, or recklessly acts, omissions or failures to act, the

32
 

Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 33 of 46

plaintiff incurred medical expenses for diagnosis, treatment and care in an effort to
cure himself of the injury resulting from the prohibited misconduct and may incur
additional medical expenses continuing on into the future.

139. Asa direct and proximate result of defendant The Pennsylvania State
University’s negligent, intentional, or recklessly acts, omissions or failures to act, the
plaintiff has been caused to expend various and diverse sums of money in an effort to
cure himself of the injury resulting from the prohibited misconduct and may incur
additional medical expenses continuing on into the future.

140. Asa direct and proximate result of defendant The Pennsylvania State
University’s negligent, careless and or reckless actions plaintiff was caused to suffer a
loss of life's pleasures which may continue indefinitely into the future.

141. The aforementioned actions or omission to act of defendant The
Pennsylvania State University were reckless and exercised with a deliberate
indifference to the welfare of the plaintiff.

WHEREFORE, the plaintiff prays for judgment in his favor and against
defendant The Pennsylvania State University, jointly and severally, and the relief
which follows:

I. That plaintiff be awarded compensatory damages as proven at trial:

II. That plaintiff be awarded exemplary damages as proven at trial;

33
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 34 of 46

Ill. That plaintiff be awarded interest and damages for prejudgment delay;

IV. That plaintiff be awarded further relief as this Court may deem
appropriate.

COUNT II
NEGLIGENCE PER SE — VIOLATION OF ANTIHAZIN G STATUTES
(Plaintiff vy James Franklin)

142. The plaintiff incorporates by reference the paragraphs above as if set
forth herein in full.

143. At all relevant times material hereto defendant J ames Franklin
maintained the position as the Head Coach of the Penn State University Football team.

144. At all relevant times material hereto defendant James Franklin was a
person associated with the Penn State Football team, an organization operating under
the sanction of or recognized as an organization by the institution from engaging in
any activity which can be described as hazing, within the meaning of the
“Pennsylvania Antihazing Law”, 24 P.S. §§5351 et seq.

145. At all relevant times material hereto defendant James Franklin was a

person within the meaning of the “Timothy J. Piazza Antihazing Law”, 18 Pa.C.S.A. §

2801, et seq.

34

 
 

Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 35 of 46

146. At all relevant times material hereto a special relationship existed
between defendant James Franklin and the plaintiff in the form of a college athletic
coach and a student-athlete.

147. Defendant James Franklin owed the plaintiff an assumed, contractual,
statutory, and/or common law heightened duty of care to:

(a) exercise ordinary and reasonable care for the safety of student-
athletes under his authority;

(b) conduct sufficient supervision of athletes;

(c) provide a safe sport environment;

(d) prevent prohibited conduct of harassment and hazing by other

athletes and coaching staff:

(e) prevent prohibited conduct of retaliation by other athletes and

coaching staff;

(f) report to the proper authorities incidents of prohibited conduct of

harassment and hazing by other athletes and coaching staff;

(g) report to the proper authorities incidents of prohibited conduct of

retaliation;

(h) promote the health and welfare of the plaintiff student athlete.

35
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 36 of 46

148. Defendant James Franklin acted negligently, carelessly, intentionally,
knowingly, or recklessly and breached the duty of care owed to the plaintiff in the
following respects:

(a) permitting the plaintiff to be subject to the prohibited conduct of
harassment and hazing from members of the Penn State football] team;

(b) permitting the plaintiff to be subject to the prohibited conduct of
harassment and hazing from members of the Penn State football team in a blatant
disregard of the Pennsylvania State University’s written antihazing policy implemented
pursuant to the “Pennsylvania Antihazing Law”, 24 P.S. §§5351-5354;

(c) failing to take substantive action to protect the plaintiff from
suffering the prohibited conduct of harassment and hazing;

(d) promoting or facilitating hazing in violation of the “Pennsylvania
Antihazing Law”, 24 P.S. §§5351 et seq.;

(e) promoting or facilitating hazing in violation of the “Timothy J.
Piazza Antihazing Law”, 18 Pa.C.S.A. § 2804 [relating to Organizational Hazing];

(f) promoting or facilitating hazing in violation of the “Timothy J.

Piazza Antihazing Law”, 18 Pa.C.S.A. § 2805 [relating to Institutional Hazing];

36

 
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 37 of 46

 

(g) retaliated against the plaintiff upon learning that the plaintiff
reported that he was being subjected to the prohibited conduct of harassment and
hazing from members of the Penn State football team;

(h) failing to report the incidents of prohibited conduct to appropriate
authorities.

149. As a direct and proximate result of the defendant James Franklin’s
negligent, intentional, or recklessly acts, omissions or failures to act, the plaintiff was
caused to suffer that damage and loss aforementioned.

WHEREFORE, the plaintiff prays for judgment in his favor and against
defendant James Franklin, jointly and severally, and the relief which follows:

I. That plaintiff be awarded compensatory damages as proven at trial;

Il. That plaintiff be awarded exemplary damages as proven at trial;

UI. That plaintiff be awarded interest and damages for prejudgment delay;

IV. That plaintiff be awarded further relief as this Court may deem
appropriate.

COUNT III
NEGLIGENCE PER SE — VIOLATION OF ANTIHAZING STATUTES

(Plaintiff v Damion Barber)

150. The plaintiff incorporates by reference the paragraphs above as if set
forth herein in full.

37
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 38 of 46

151. At all relevant times material hereto defendant Damion Barber was a
person associated with the Penn State Footbal] team, an organization operating under
the sanction of or recognized as an organization by the institution from engaging in
any activity which can be described as hazing, within the meaning of the
“Pennsylvania Antihazing Law”, 24 P.S. §§5351 et seq.

152. At all relevant times material hereto defendant Damion Barber was a
person within the meaning of the “Timothy J. Piazza Antihazing Law”, 18 Pa.C.S.A. §
2801, et seq.

153. | Defendant Damion Barber owed the plaintiff an assumed, contractual,
common law, and/or statutory duty of care to restrain himself from subjecting the
plaintiff to the prohibited conduct of harassment and hazing.

154. Defendant Damion Barber acted negligently, carelessly, intentionally,
knowingly, or recklessly and breached the duty of care owed to the plaintiff in the
following respects:

(a) subjected the plaintiff to the prohibited conduct of harassment and
hazing;
(b) violated the Pennsylvania State University’s Student Code of

Conduct;

38
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 39 of 46

(c) violated the Pennsylvania State University’s written antihazing
policy implemented pursuant to the “Pennsylvania Antihazing Law”, 24 P.S. §§5351-
5354 by promoting or facilitating hazing;

(d) promoting or facilitating hazing in violation of the “Pennsylvania
Antihazing Law”, 24 P.S. §§5351 et seq.;

(e) promoting or facilitating hazing in violation of the “Timothy J.
Piazza Antihazing Law”, 18 Pa.C.S.A. § 2804 [relating to Organizational Hazing];

(f) retaliated against the plaintiff upon learning that the plaintiff
reported that he was being subjected to the prohibited conduct of harassment and
hazing by members of the Penn State football team.

155. As a direct and proximate result of the defendant Damion Barber’s
aforementioned negligent, intentional, or recklessly acts, omissions or failures to act,
the plaintiff was caused to suffer that damage and loss aforementioned.

WHEREFORE, the plaintiff prays for judgment in his favor and against
defendant Damion Barber, jointly and severally, and the relief which follows:

I. That plaintiff be awarded compensatory damages as proven at trial;

IJ. That plaintiff be awarded exemplary damages as proven at trial:

Il. That plaintiff be awarded interest and damages for prejudgment delay;

39

 
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 40 of 46

IV. That plaintiff be awarded further relief as this Court may deem
appropriate.

COUNT V
ASSAULT AND BATTERY
(Plaintiff v Damion Barber )

156. The plaintiff incorporates by reference the paragraphs above as if set
forth herein in full.

157. Defendant Damion Barber subjected the plaintiff to unwanted harmful
physical contact.

158. Defendant Damion Barber by means of physical menace placed the
plaintiff in fear of imminent bodily harm.

159. Asa direct and proximate result of the defendant Damion Barber’s
negligent, intentional, or recklessly acts the plaintiff was caused to suffer that damage
and loss aforementioned.

WHEREFORE, the plaintiff prays for judgment in his favor and against
defendant Damion Barber, jointly and severally, and the relief which follows:

I. That plaintiff be awarded compensatory damages as proven at trial:

II. That plaintiff be awarded exemplary damages as proven at trial:

Ill. That plaintiff be awarded interest and damages for prejudgment delay;

40

 
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 41 of 46

IV. That plaintiff be awarded further relief as this Court may deem
appropriate.
COUNT VI
NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
(Plaintiff v_All Defendants)

160. The plaintiff incorporates by reference the paragraphs above as if set
forth herein in full.

161. Atall relevant times material hereto defendants The Pennsylvania State
University, James Franklin, and Damion Barber owed plaintiff common law duty not
to act in a manner which they should have realized would involve an unreasonable risk
of causing the plaintiff to suffer emotional distress, illness, and/or bodily harm.

| 162. The defendants knew or reasonably should have known that subjecting
the plaintiff to the aforementioned prohibited conduct of harassment, hazing and
retaliation involved an unreasonable risk that emotional distress would result.

163. Defendant The Pennsylvania State University is liable to the plaintiff, by
and through its representative, employees, agents or ostensible agents, pursuant to the
provisions Section 219 of the Restatement 2™ of Agency.

164. The conduct of the defendants violated the provisions of the Section 313

of the Restatement 2" of Torts.

165. As a result of the defendants having subjected the plaintiff to the

4]

 
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 42 of 46

aforementioned prohibited conduct harassment, hazing and retaliation, the plaintiff was
caused to suffer fear, anxiety, panic and emotional trauma.

166. The emotional distress suffered by the plaintiff as a direct and proximate
result of the defendants has caused the plaintiff to experience illness and bodily harm.

167. Asa direct and proximate result of the defendants or their authorized
agents, ostensible agents, servants, workman and/or employees’ reckless and
indifferent actions, omissions, or failures to act as set forth herein, plaintiff was caused
to suffer emotional distress, grief, and fright to a degree that no reasonable person
should be expected to endure.

WHEREFORE, the plaintiff prays for judgment against the defendants, jointly
and severally, and the relief which follows:

I. That plaintiff be awarded compensatory damages as proven at trial;

I]. ‘That plaintiff be awarded interest and damages for prejudgment delay;

II. That plaintiff be awarded further relief as this Court may deem
appropriate.

COUNT VII
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

(Plaintiff v Damion Barber)

168. The plaintiff incorporates by reference the paragraphs above as if set
forth herein in full.

42

 

 
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 43 of 46

169. Defendant Damion Barber’s aforementioned behavior in subjecting the
plaintiff to the prohibited conduct of harassment, hazing and retaliation was extreme
and outrageous conduct.

170. Defendant Damion Barber’s aforementioned behavior in subjecting the
plaintiff to the prohibited conduct of harassment, hazing and retaliation was intentional
or reckless.

171. Defendant Damion Barber’s knew or reasonably should have known that
subjecting the plaintiff to the aforementioned prohibited conduct of harassment, hazing
and retaliation involved an unreasonable risk that emotional distress would result.

172. Defendant Damion Barber’s aforementioned behavior in subjecting the
plaintiff to the prohibited conduct of harassment, hazing and retaliation caused the
plaintiff to suffer severe emotional distress.

173. | Theconduct of defendant Damion Barber violated the provisions of the
Section 436 of the Restatement 2" of Torts.

174. Asa direct and proximate result of defendant Damion Barber’s intentional
and wrongful actions plaintiff was caused to suffer emotional distress, grief,

humiliation, anger and chagrin to a degree that no reasonable person should be

expected to endure.

175. As a direct and proximate result of defendant Damion Barber’s

43

 
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 44 of 46

intentional and wrongful actions plaintiff was caused to suffer physical injury.

176. Defendant Damion Barber’s actions were outrageous, malicious, willful,
effected with a recklessly indifference to the welfare of the plaintiff.

WHEREFORE, the plaintiff prays for judgment against the defendant Damion
Barber, jointly and severally, and the relief which follows:

I. That plaintiff be awarded compensatory damages as proven at trial;

Il. That plaintiff be awarded exemplary damages as proven at trial;

Il. That plaintiff be awarded interest and damages for prejudgment delay;

IV. That plaintiff be awarded further relief as this Court may deem
appropriate.

COUNT VIII
CIVIL CONSPIRACY

(Plaintiff v Damion Barber)

177. The plaintiff incorporates by reference the paragraphs above as if set
forth herein in full.

178. Atall relevant times material hereto, defendant Damion Barber owed a
duty to the plaintiff not to conspire with others for the purpose of subjecting the
plaintiff to hazing, harassment, assault, battery and retaliation.

179. Defendant Damion Barber engaged in a civil conspiracy with Micah

Parsons, Yetur Gross-Matos, and Jesse Luketa to haze, harass, assault, batter and

44
Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 45 of 46

retaliate against the plaintiff.

180. With a common purpose to haze, harass, assault and batter and retaliate
against the plaintiff, defendant Damion Barber, Micah Parsons, Yetur Gross-Matos,
and Jesse Luketa engaged in the aforementioned overt acts.

181. As a direct and proximate result of the conspiracy engaged by the
defendant Damion Barber, the plaintiff was caused to suffer the aforementioned harms
and loss.

182. Defendant Damion Barber’s actions were outrageous, malicious, willful,
effected with a recklessly indifference to the welfare of the plaintiff.

183. WHEREFORE, the plaintiff prays for judgment against the defendant
Damion Barber, jointly and severally, and the relief which follows:

I. That plaintiff be awarded compensatory damages as proven at trial:
Ul. That plaintiff be awarded exemplary damages as proven at trial:
Ill. That plaintiff be awarded interest and damages for prejudgment delay;
IV. That plaintiff be awarded further relief as this Court may deem
appropriate.
JURY TRIAL DEMAND
184. The plaintiff incorporates by reference the paragraphs above as if set

forth herein in full.

45

 
 

Case 4:20-cv-00064-MWB Document1 Filed 01/13/20 Page 46 of 46

185. Trial by jury is demanded in the above entitled cause.

Dated: January 13, 2020

   

 

Steen F. Marino, Esquire
PA Attorney I.D. No. 53034
Joseph Auddino, Esquire

PA Attorney ILD. No. 316752
MARINO ASSOCIATES

301 Wharton Street
Philadelphia, Pa 19147
Telephone: (215) 462-3200
Telecopier: (215) 462-4763

smarino@marinoassociates.net

jauddino@marinoassociates.net

Attorney for Plaintiff

46
